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    8                    UNITED STATES DISTRICT COURT
    9                   CENTRAL DISTRICT OF CALIFORNIA

   10 CLINT EASTWOOD, an individual;         ) Case No.: 2:20-cv-06503-RGK-JDE
   11   GARRAPATA, LLC, a California limited )
        liability company,                   ) [PROPOSED] JUDGMENT
   12                                        )
                      Plaintiffs,
   13                                        )
                vs.                          )
   14                                        )
   15
        MEDIATONAS UAB, a Lithuanian         )
        private limited company DOES 2-30,   )
   16   inclusive,                           )
   17                                        )
                      Defendants.            )
   18                                        )
   19                                        )
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   20                                        )
   21                                        )
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   22                                        )
   23                                        )
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                                         JUDGMENT
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    1         On February 12, 2021, Plaintiffs Clint Eastwood (“Mr. Eastwood”) and
    2 Garrapata, LLC (“Garrapata”) (collectively, “Plaintiffs”) filed a First Amended
    3 Complaint (“Complaint”) against Mediatonas UAB ("Defendant") alleging (1)
    4 violation of California Civil Code § 3344; (2) violation of common law right of
    5 publicity; (3) false endorsement under the Lanham Act; (4) trademark infringement;
    6 (5) common law trademark infringement; (6) defamation; and (7) false light invasion
    7 of privacy. Defendant has neither answered nor otherwise responded to the
    8 Complaint. On March 18, 2021, the Clerk entered default against Defendant. (ECF
    9 No. 59.)
   10         On October 1, 2021, the Court granted Plaintiffs’ Motion for Default Judgment
   11 against Defendant and entered an order thereon. (ECF 83). For the reasons set forth
   12 in the Court’s order, IT IS HEREBY ORDERED, ADJUDICATED and DECREED
   13 that:
   14         1.    Judgment is entered in favor of Plaintiffs and against Defendant.
   15         2.    Defendant, and its officers, agents, servants, employees, attorneys,
   16 representatives, and all persons acting in concert or participating with them, are
   17 restrained and enjoined from (1) using any of Mr. Eastwood’s publicity rights,
   18 including Mr. Eastwood’s name or any iteration thereof, photograph, likeness, voice,
   19 sound-alike voice, signature, identities or persona, including without limitation the
   20 names “Clint,” “Eastwood,” and “Clint Eastwood,” and all references to Mr.
   21 Eastwood, including his films and film characters, on or in connection with
   22 Defendant’s products, product packaging, product labeling, and/or the advertising,
   23 marketing or promotion thereof; (2) disseminating false and defamatory statements
   24 that Mr. Eastwood is in the business of manufacturing, distributing, or selling CBD
   25 products; (3) engaging in any unfair competition with Plaintiffs in any manner, or
   26 engaging in any conduct that would tend to falsely represent or likely confuse,
   27 mislead or deceive suppliers, purchasers, or any member of the public into thinking
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                                              JUDGMENT
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    1 that Defendant, or any person or entity affiliated with Defendant, is associated with

    2 Mr. Eastwood, or that Defendant’s products originate from or are associated with Mr.

    3 Eastwood, or that Mr. Eastwood has otherwise sponsored, approved, or licensed any

    4 products or services of Defendant or of any person or entity affiliated therewith.

    5        3.     Defendant is ordered to pay Plaintiffs monetary relief in the amount of
    6 Six Million, Ninety-Four Thousand, Five Hundred Sixty-Five Dollars and Thirty-

    7 Three Cents ($6,094,565.33) plus post-judgment interest thereon. Post-judgment

    8 interest shall accrue beginning on the date of entry of this Order and shall be

    9 determined pursuant to 28 U.S.C. § 1961.

   10        4.     This Court expressly retains jurisdiction over this matter to enforce any
   11 violation of the terms of this Judgment, including the permanent injunction herein.

   12

   13        IT IS SO ORDERED.
   14

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   16 Dated: October 12, 2021
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                                                    ______________________________
   18                                               HON. R. GARY KLAUSNER
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                                              JUDGMENT
